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                                    ATTACHMENT “A”



       2.     Petitioner has been retained personally or as a member of the law firm by Cung

Le, Nathan Quarry, Jon Fitch, Luis Javier Vazquez, Brandon Vera, Pablo Garza and Kyle

Kingsbury to provide legal representation in connection with the above-entitled case now

pending before this Court.
